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                                                        March 15, 2021


VIA ECF

The Honorable Alison J. Nathan
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

         Re: United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

     On behalf of our client, Ghislaine Maxwell, we will be filing the following reply
memoranda with accompanying exhibits:

         1. Reply Memorandum in Support of Motion to Dismiss the Superseding Indictment for
             Breach of the Non-Prosecution Agreement
         2. Reply Memorandum in Support of Motion to Dismiss Counts One through Four of
             the Superseding Indictment as Time-Barred
         3. Reply Memorandum in Support of Motion Under the Due Process Clause to Suppress
             All Evidence Obtained from the Government’s Subpoena to                  and to
             Dismiss Counts Five and Six
         4. Reply Memorandum in Support of Motion to Dismiss Counts Five and Six of the
             Superseding Indictment Because the Alleged Misstatements Are Not Perjurious as a
             Matter of Law
         5. Reply Memorandum in Support of Motion for a Severance of and Separate Trial on
             Counts Five and Six of the Superseding Indictment
         6. Reply Memorandum in Support of Motion to Strike Surplusage from the Superseding
             Indictment
         7. Reply Memorandum in Support of Motion to Dismiss Counts One Through Six of the
             Superseding Indictment for Pre-Indictment Delay
         8. Reply Memorandum in Support of Motion to Dismiss Either Count One or Count
             Three of the Superseding Indictment as Multiplicitous
         9. Reply Memorandum in Support of Motion to Dismiss the Superseding Indictment as
             It Was Obtained in Violation of the Sixth Amendment
         10. Reply Memorandum in Support of Motion for a Bill of Particulars and Pretrial
             Disclosures
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          11. Reply Memorandum in Support of Motion Under the Fourth Amendment, Martindell,
              and the Fifth Amendment to Suppress All Evidence Obtained from the Government’s
              Subpoena to               and to Dismiss Counts Five and Six
          12. Reply Memorandum in Support of Motion to Dismiss Counts One through Four of
              the Superseding Indictment for Lack of Specificity

          Several of the reply memoranda reference or discuss Confidential Information produced
  in discovery and are therefore redacted pursuant to paragraph 15 of the Protective Order (Dkt.
  36). In order to give the government the chance to review the proposed redactions, we will not
  file on the public docket any reply memoranda that contain redactions until we are instructed to
  do so by the Court. 1

         The remaining reply memoranda do not contain any redactions. However, we are
  mindful of the fact that the government’s Omnibus Memorandum in Opposition to the
  Defendant’s Pre-trial Motions, to which the reply memoranda respond, has not yet been filed on
  the public docket. Accordingly, we will also refrain from filing the reply memoranda that do not
  contain redactions on the public docket until we are instructed to do so by the Court.

          Instead, we will submit by email to the Court and the government all of the reply
  memoranda and exhibits pursuant to Rule 2(B) of the Court’s individual rules of criminal
  practice. For the reply memoranda and exhibits that contain redactions, we will submit two
  versions – an unredacted original to be kept under seal and a version for public filing with
  proposed redactions.

          Please contact us with any questions. Your consideration is greatly appreciated.

                                                                      Respectfully submitted,


                                                                        /s/ Christian R. Everdell
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                                                                      (212) 957-7600
  cc:   All counsel of record (via email)


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    For documents that the government has designated as “Confidential,” we have preliminarily indicated that they be
  filed under seal, as required by paragraph 15 of the Protective Order. However, because some of the exhibits are
  “judicial documents,” we intend to propose that those “Confidential” designations be amended consistent with our
  March 9, 2021 letter to the Court.
